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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

 

[mi] Original Plan
| Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
| Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Rolando Lazo Perez JOINT DEBTOR: CASE NO.: 22-11636-AJC
SS#: xxx-xx- 8539 SS#: xxx-xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a

partial payment or no payment at all to the secured creditor [] Included [m] Not included

 

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set

out in Section IIT L_] Included [m] Not included

 

 

 

 

Nonstandard provisions, set out in Section IX [_] Included [m] Not included

 

II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

 

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

1. $550.00 formonths 1 to _12 ;
2. $1,243.76 for months 13 to_60_;
B. DEBTOR(S)' ATTORNEY'S FEE: [] NONE [_] PROBONO
Total Fees: $4,650.00 Total Paid: $1,400.00 Balance Due: $3,250.00
Payable $464.29 /month (Months 1 to 21 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$4,500.00 + $150.00 (Costs)

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

 

Til. TREATMENT OF SECURED CLAIMS _ [_] NONE

 

A. SECURED CLAIMS: [mf] NONE

B. VALUATION OF COLLATERAL: [lf] NONE
C. LIEN AVOIDANCE [mg] NONE

D. SURRENDER OF COLLATERAL: [Bj] NONE

E. DIRECT PAYMENTS [|] NONE

Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution fom the Chapter 13 Trustee.
[m™] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

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Debtor(s): Rolando Lazo Perez Case number: 22-11636-AJC
Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
' Dovenmuehle/frsthrznbk 1163 14246 NW 17th Ave Opa Locka, FL 33054
Lake Vue Villas 4246 14246 NW 17th Ave Opa Locka, FL 33054
2. Condominium Assoc
Miami Dade County Public 8990 14246 NW 17th Ave Opa Locka, FL 33054
3. Housing

 

IV. | TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)] [] NONE
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [lm] NONE
B. INTERNAL REVENUE SERVICE: [m] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [mi] NONE
D. OTHER: [mi] NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS [ ] NONE
A. Pay $30.71 /month (Months 1 to 7_)

Pay $495.00 /month (Months 8 to 12 )

Pay $1,119.38 ‘month (Months 13 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [m] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [mi] NONE
VI. STUDENT LOAN PROGRAM [Bt] NONE
VII. EXECUTORY CONTRACTS AND UNEXPIRED LEASES [|] NONE

Secured claims filed by any creditor/lessor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.

[m] Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic stay be
terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors/lessors. Nothing
herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of Creditor Collateral Acct. No. (Last 4 Digits) Assume/Reject

American Honda Finance 2020 Honda Civic 4826
1. [m] Assume [|_| Reject

 

VIII. INCOME TAX RETURNS AND REFUNDS: [m] NONE
1X. NON-STANDARD PLAN PROVISIONS [mg] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

/s/ Rolando Lazo Perez Debtor February 28, 2022 Joint Debtor
Rolando Lazo Perez Date Date
Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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